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                                                                      USDC SDNY
                                                                      DOCUMENT
                                                                      ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                      DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                      DATE FILED: 10/16/20
----------------------------------------------------------------- X
                                                                  :
A.M., individually and on behalf of E.H., a child                 :
with a disability                                                 :
                                                                  :     1:20-cv-08381-GHW
                                                  Plaintiff,      :
                                                                  :          ORDER
                              -v -                                :
                                                                  :
NEW YORK CITY DEPARTMENT OF                                       :
EDUCATION,                                                        :
                                                                  :
                                               Defendant.         :
                                                                  :
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GREGORY H. WOODS, United States District Judge:

         To conserve resources, to promote judicial efficiency, and in an effort to achieve a faster

disposition of this matter, it is hereby ORDERED that the parties must discuss whether they are

willing to consent, under 28 U.S.C. § 636(c), to conducting all further proceedings before the

assigned Magistrate Judge.

         If both parties consent to proceed before the Magistrate Judge, counsel for the defendant

must, by October 26, 2020 file on ECF a fully executed Notice, Consent, and Reference of a Civil

Action to a Magistrate Judge form, a copy of which is attached to this order (and also available at

https://nysd.uscourts.gov/sites/default/files/2018-06/AO-3.pdf). The executed form should be

filed on ECF as a “Proposed Order,” and be described using the “Consent Order” filing event in

accordance with ECF Rule 13.18. If the Court approves that form, all further proceedings will then

be conducted before the assigned Magistrate Judge rather than before me. Any appeal would be

taken directly to the United States Court of Appeals for the Second Circuit, as it would be if the

consent form were not signed and so ordered.
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       If either party does not consent to conducting all further proceedings before the assigned

Magistrate Judge, the parties must file a joint letter, by October 26, 2020 advising the Court that the

parties do not consent, but without disclosing the identity of the party or parties who do not

consent. The parties are free to withhold consent without negative consequences

       SO ORDERED.
                                                                _____________________________
Date: October 16, 2020                                               GREGORY H. WOODS
New York, New York                                                  United States District Judge
